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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                               CINCINNATI DIVISION



 HUNTER DOSTER, et al.,

        Plaintiffs,
 v.                                                               No. 1:22-cv-00084
                                                             Hon. Matthew W. McFarland
 FRANK KENDALL, et al.,

        Defendants.


                         NOTICE OF ADDITIONAL MATERIALS
       Defendants respectfully submit additional materials in support of both their Opposition to

Plaintiffs’ Emergency Motion for Temporary Restraining Order and Preliminary Injunction, Doc.

No. 27, and their Opposition to Plaintiffs’ Motion for Class Certification, Doc. No. 34. The

submitted materials include additional record materials for several individual Plaintiffs’ religious

accommodation requests, which provide more context to the documents submitted by Plaintiffs.

Those Plaintiffs include: McKenna Colantanio, Joe Dills, Hunter Doster, Heider Mosher, Daniel

Reineke, Christopher Schuldes, and Adam Theriault.



Dated: March 23, 2022                         Respectfully submitted,


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                                              Civil Division

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                                              /s/ Cassandra Snyder
                                              ANDREW E. CARMICHAEL
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on March 23, 2022, I electronically filed the foregoing paper with the

Clerk of Court using this Court’s CM/Doc. system, which will notify all counsel of record of such

filing.



                                                    /s/ Cassandra Snyder
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